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                                                                         Monday, 25 May, 2020 07:20:58 PM
                                                                             Clerk, U.S. District Court, ILCD

                           UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF ILLINOIS
                             CASE NO. 17-CR-20028-SEM-EIL

UNITED STATES OF AMERICA
              Plaintiff,
v.
KEITH HALLIBURTON,
              Defendant.
_________________________________/


                     DEFENDANT KEITH HALLIBURTON’S REPLY
                          TO GOVERNMENT RESPONSE

       The Defendant Keith Halliburton (“Mr. Halliburton”), by and through undersigned

counsel respectfully responds to the Government's motion and would state the following:

          1. The Government asks this Court to deny Mr. Halliburton's Motion for a Reduction

              of Sentence and Compassionate Release, primarily and in addition to other

              assertions based on the fact that Mr. Halliburton has not exhausted his

              administrative remedies.

          2. Undersigned counsel would point out that Mr. Halliburton has a long history of

              asthma, sleep apnea and other pre-existing conditions.

          3. The Court should waive the requirement of exhaustion since under the

              circumstances of this case, Mr. Halliburton should be released to home

              confinement so he can receive appropriate medical care. Undersigned counsel

              understands that Mr. Halliburton has not received an inhaler for his asthma for

              over two weeks, despite the fact that he is at high risk for contracting the virus.

          4. The Court can exercise its discretion to grant compassionate release and a

              sentence reduction because exhaustion may be unnecessary where it would be


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              futile, either because agency decision makers are biased or because the agency

              has already determined the issue. Second, in view of Mr. Halliburton's condition

              exhaustion may be unnecessary where the administrative process would be

              incapable of granting adequate relief. Third "exhaustion may be unnecessary

              where pursuing agency review would subject the defendant to undue prejudice.

              See United States v Perez, 2020 WL 1546422 (S.D. N. Y. April 1, 2020).

           5. Such is the case here. Mr. Halliburton, a high-risk inmate residing at an institution

              with a myriad of infections would be subjected to an extremely high risk of

              serious medical infirmity or death if he were forced to pursue his administrative

              remedies considering the situation he presently faces.

       For the foregoing reasons, the Defendant, Mr. Halliburton, respectfully requests this

Court grant his motion for a sentence reduction and compassionate release.




Dated: May 25, 2020.
                                                     Respectfully submitted,
                                                     Michael B. Cohen, Esq.
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